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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                      :      CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC             :      BANKRUPTCY NO. 22-10609(AMC)

                             Debtor         :


                   NOTICE OF APPLICATION AND RESPONSE DEADLINE

        Scungio Borst & Associates, LLC (the “Debtor”) has filed an Application for the Entry of
an Order Authorizing the Retention and Employment of Bochetto & Lentz, P.C. as Special
Litigation Counsel Pursuant to 11 U.S.C. §§ 327(e) and 328(a), Fed. R. Bankr. P. 2014 and Local
Bankruptcy Rule 2014-1 (the “Application”).

         1.   Your rights may be affected. You should read these papers carefully and
              discuss them with your attorney, if you have one in this bankruptcy case. (If
              you do not have an attorney, you may wish to consult an attorney.)

         2.   If you do not want the court to grant the relief sought in the Application or if
              you want the court to consider your views on the Application, then on or before
              April 12, 2022, you or your attorney must file a response to the Application.
              (see Instructions below).

         3.   If you do not file a response to the Application, the court may enter an order
              granting the relief requested in the Application.

         4.   You may contact the Bankruptcy Clerk’s office for Philadelphia cases at (215) 408-
              2800 to find out whether a hearing has been scheduled.

         5.   If a copy of the Application is not enclosed, a copy of the Application will be
              provided to you if you request a copy from the attorney whose name and address is
              listed on the next page of this Notice.
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                                       Filing Instructions

       6.     If you are required to file documents electronically by Local Bankruptcy Rule
              5005-1, you must file your response electronically.

       7.              If you are not required to file electronically, you must file your response at

                              Clerk
                              United States Bankruptcy Court
                              for the Eastern District of Pennsylvania
                              The Robert N.C. Nix, Sr. Federal Courthouse
                              900 Market Street, Suite 400
                              Philadelphia, PA 19106

       8.     If you mail your response to the Bankruptcy Clerk’s office for filing, you must
              mail it early enough so that it will be received on or before the date stated in
              Paragraph 2 on the previous page of this Notice.

       9.     On the same day that you file or mail your Response to the Application, you must
              mail or deliver a copy of the Response to the following:

                              Aris J. Karalis, Esquire
                              Robert W. Seitzer, Esquire
                              Karalis PC
                              1900 Spruce Street
                              Philadelphia, PA 19103
                              Phone No.: (215) 546-4500
                              Fax No.: (215) 985-4175
                              E-mail addresses:      akaralis@karalislaw.com
                                                     rseitzer@karalislaw.com

Dated: April 5, 2022




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